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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division



ELEGANT MASSAGE,LLC,
on behalfofitselfand all others
similarly situated,

                      Plaintiffs,

V.                                                                Action No. 2:20cv265

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,et al..

                      Defendants.

                                          ORDER


       This matter is before the Court on Elegant Massage, LLC's ("Elegant Massage") third

motion to compel, and State Farm Mutual Automobile Insurance Company's and State Farm Fire

and Casualty Company's ("State Farm") motion to compel. ECF Nos. 174, 181. On September

30,2021,the Court held a ZoomGov.com hearing on the motions. Tyler S. Graden, Esq., Marc C.

Greco, Esq., and William H. Monroe, Jr., Esq., represented Elegant Massage. Christina G.

Sarchio, Esq., and James P. Gaughan,Esq.,represented State Farm. Paul McManus was the court

reporter.

       For the reasons stated on the record, the Court GRANTS in part and DENIES in part

the motions, as follows. With respect to Elegant Massage's third motion to compel,ECF No. 175,

the Court:


       1)     DENIES Elegant Massage's motion to compel State Farm to provide additional

information about the 60,000 documents returned using selected electronically stored information

("ESI") keywords that were deemed non-responsive to discovery requests.
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          2)   ORDERS counsel for State Farm to file a supplemental response to the motion to

compel on or before October 7, 2021, addressing whether State Farm conducted a search for ESI,

irrespective of whether they contained ESI keywords, of: (1)repositories of documents related to

COVID-19 coverage issues State Farm maintained in centralized locations;(2)documents created

or disseminated by State Farm's public affairs department; and(3)relevant spreadsheets/databases

used to calculate amounts to be paid for approved business interruption claims.

          3)   GRANTS the motion to compel audio recordings referenced in produced

documents. State Farm can only remove information that can identify individuals or businesses

covered by the policies and provide a protective order for entry if necessary. Counsel for State

Farm is DIRECTED to notify the undersigned on or before October 7, 2021, when the audio

recordings can be produced.

          4)   DENIES the request for entry of a validation protocol to ensure the documents

identified by State Farm as non-relevant are not wrongfully being withheld.

          5)   GRANTS the motion to compel State Farm to produce a privilege log that complies

with the standards set forth in the Court's ESI Protocol, ECF No. 156. If an email thread went to

others, outside ofthose individuals identified on the last email, counsel needs to identify all those

individuals or distribution groups.

          6)   DENIES as untimely the motion to compel State Farm to designate a witness

pursuant to Fed. R. Civ. P. 30(b)(6) to testify on its behalf with respect to several outstanding

topics.
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        With respect to State Farm's motion to compel, ECF No. 181, the Court:

        1)       GRANTS the motion to compel Elegant Massage to produce relevant WeChat

communications, along with any attachments to the communications, in a text searchable format

by October 14, 2021.

        2)       GRANTS the motion to compel Elegant Massage to produce bank account

statements from BB&T for May and June 2020. To the extent that other bank accounts existed

that were controlled by Elegant Massage, Li Jing Pelton, or Andy Curl that received deposits

representing cash proceeds of the operation of Elegant Massage's business, the Court GRANTS

the motion to compel those bank accounts statements for the time period of January 2018 through

June 2020.


        3)       GRANTS in part the motion to compel Elegant Massage to produce additional

responsive documents. Counsel for Elegant Massage is DIRECTED to contact Elegant Massage's

accountant and leasing agent to obtain and produce any responsive documents by October 14,

2021.


        4)       DENIES the motion to compel Elegant Massage to produce a supplemental

privilege log.

        The Clerk shall forward a copy ofthis Order to all counsel ofrecord.




                                                               Robert J. Krask
                                                        United States Magistrate Judge


Norfolk, Virginia
September 30, 2021
